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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                                                 :
                v.                               :       Case No.: 1:21-cr-00727
                                                 :
EVAN NEUMANN,                                    :
                                                 :
                                                 :
                       Defendant.                :

                                  NOTICE OF APPEARANCE
       The United States of America, by and through the United States Attorney for the District

of Columbia, informs the Court that undersigned counsel, Assistant United States Attorney Brian

P. Kelly, is assigned as co-counsel in the above-captioned matter. This is notice of his appearance

in this matter on behalf of the United States.

                                                 Respectfully submitted,

                                                 MATTHEW M. GRAVES
                                                 United States Attorney
                                                 D.C. Bar No. 481052

                                      By:        /s/ Brian P. Kelly__
                                                 BRIAN P. KELLY
                                                 Assistant United States Attorney
                                                 United States Attorney’s Office
                                                 District of Columbia
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                               CERTIFICATE OF SERVICE

       This is to certify that undersigned counsel for the Government served a copy of the

foregoing Notice of Appearance on counsels of record for the Defendant via CM/ECF.

                                    By:     /s/ Brian P. Kelly__
                                            BRIAN P. KELLY
                                            Assistant United States Attorney
                                            United States Attorney’s Office
                                            District of Columbia
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